Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 1 of 21




  EXHIBIT 39
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 2 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 3 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 4 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 5 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 6 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 7 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 8 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 9 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 10 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 11 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 12 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 13 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 14 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 15 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 16 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 17 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 18 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 19 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 20 of 21
Case 6:21-cv-01100-EFM   Document 207-31   Filed 09/29/23   Page 21 of 21
